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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  UNITED STATES OF AMERICA
                                                       Case No.: 9:22-MJ-08332-BER-1
  v.

  SEALED SEARCH WARRANT
  _________________________________/

       THE NEW YORK TIMES COMPANY’S MOTION TO INTERVENE FOR THE
        LIMITED PURPOSE OF OBTAINING ACCESS TO SEARCH WARRANT
          COURT RECORDS WITH SUPPORTING MEMORANDUM OF LAW
         The New York Times Company (“The Times”), publisher of The New York Times, moves

  to intervene in this matter for the limited purpose of unsealing and obtaining access to all

  documents filed with this Court related to a search warrant executed on Monday, August 8, 2022,

  at former President Donald J. Trump’s Mar-a-Lago Palm Beach, Florida, club and residence (the

  “Search Warrant Records”). The requested Search Warrant Records include, without limitation:

  (1) the search warrant itself; (2) the search warrant application; (3) any motion to seal search

  warrant-related records; (4) any resultant order regarding a motion to seal; (5) any search warrant

  returns; and (6) all probable cause affidavits filed in support of obtaining the search warrant.

  President Trump has publicly confirmed and discussed the search, which has been widely reported

  on nationwide.1 The Times thus requests this Court enter an Order granting it leave to intervene

  and immediately unsealing all Search Warrant Records currently under seal, and otherwise making

  all such records presently available for public review.

         Specific grounds for this motion are set forth in the below memorandum of law.




  1
   An August 10, 2022, Google search for “Trump” and “search warrant” and “Mar-a-Lago” yields
  over 7 million results.
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                                  MEMORANDUM OF LAW

  I.     Relevant Background Regarding the Search Warrant Records.

         On Monday, August 8, 2022, Federal Bureau of Investigation (“FBI”) agents, acting

  pursuant to a search warrant, searched President Trump’s Mar-a-Lago property, seizing records.

  The search has been the subject of intense news coverage.2 President Trump allies have asserted

  that there was no legal basis for the search and that it was part of a political attack on the

  Republican Party by the Biden Administration.3 According to news reports and President Trump’s

  lawyer, the seized records are potentially records President Trump brought with him to Mar-a-




  2
    See, e.g., Never Before in American History: The F.B.I. Searches a Former President’s Home,
  N.Y. Times, Aug. 9, 2022, available at: https://www.nytimes.com/2022/08/10/us/politics/trump-
  fbi.html Trump FBI raid: Agents seize Mar-a-Lago documents in unprecedented move, FOX
  News, Aug. 10, 2022, available at: https://www.foxnews.com/live-news/president-donald-trump-
  fbi-raid-mar-a-lago-house-news; FBI searches Trump’s Mar-a-Lago home as inquiry into former
  president intensifies, Miami Herald, updated Aug. 9, 2022, available at:
  https://www.miamiherald.com/news/politics-government/state-politics/article264310461.html;
  What went down in FBI’s Trump search, Washington Post, Aug. 10, 2022, available at:
  https://www.washingtonpost.com/politics/2022/08/10/what-went-down-fbis-trump-search/; FBI
  Searches Trump’s Mar-a-Lago Home, WSJ Video, Aug. 9, 2022, available at:
  https://www.wsj.com/video/fbi-searches-trumps-mar-a-lago-home/A92ABE2C-9697-4C45-
  A3CA-7E70E2BFC074.html; Mystery at Mar-a-Lago: What were FBI agents looking for and
  what      are     the    consequences?,     NPR,     Aug.      9,    2022,    available    at:
  https://www.npr.org/2022/08/09/1116575413/mar-a-lago-fbi-raid-trump-search; FBI search of
  Mar-a-Lago came after suspicions of withheld materials, CNN, updated Aug. 9, 2022, available
  at: https://www.cnn.com/2022/08/09/politics/donald-trump-document-investigation-mar-a-lago-
  search/index.html.

  3
    See, e.g., GOP Casts trump as Victim, attacks BI in Midterm Rally Cry, Bloomberg, Aug. 9,
  2022, available at: https://www.bloomberg.com/news/articles/2022-08-09/gop-casts-trump-as-
  victim-attacks-fbi-in-midterm-rallying-cry; House GOP rallies to Trump after Mar-a-Lago
  search, vows to probe FBI in 2023, Politico, Aug. 8, 2022, available at:
  https://www.politico.com/news/2022/08/08/trump-mar-a-lago-gop-00050459.


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  Lago from the White House, including classified documents. Mr. Trump has publicly and

  vociferously challenged the Justice Department’s and FBI’s actions.

         To date, despite the immense public interest in the search, the public, including The Times,

  has been prevented from accessing any court records related to this search warrant, including the

  warrant itself. Southern District of Florida practice is typically to seal search warrant matters at

  least until the warrant is executed, but not in perpetuity. In addition, the typical docket is not

  readily available.

         This matter is one of utmost public interest, involving the actions of current and former

  government officials. President Trump decried the search as an “assault that could only take place

  in broken, Third-World Countries,” asserted agents “even broke into my safe,” and otherwise

  publicly challenged the validity of the search and governmental action. See Maggie Haberman,

  Ben Protess and Adam Goldman, The search appears to signal a major escalation in the various

  investigations into the Trump presidency, N.Y. Times, Aug. 8, 2022, available at:

  https://www.nytimes.com/2022/08/08/us/politics/trump-fbi-mar-a-lago.html.             Additionally,

  President Trump’s legal counsel, Christina Bobb, who received a copy of the warrant, stated that

  federal agents sought “presidential records or any possibly classified material.” See Maggie

  Haberman, Ben Protess, Michael S. Schmidt, Luke Broadwater and William K. Rashbaum, F.B.I.

  Search of Trump’s Home Pushes Long Conflict Into Public View, N.Y. Times, Aug. 9, 2022,

  available at: https://www.nytimes.com/2022/08/09/us/politics/fbi-search-trump.html. Elected

  officials, including House Minority Leader Kevin McCarthy, have criticized the search and the

  Justice Department. See Maggie Haberman, et al., The search appears to signal a major escalation

  in the various investigations into the Trump presidency (link provided above). Indeed, questions




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  swirl about whether the search involved government material President Trump unlawfully brought

  with him from the White House.

         The Times has devoted significant newsgathering resources to providing the public with

  information about this unprecedented search in a political climate in which the uncertainty about

  the purpose and basis of the search is fueling recriminations and unbridled partisanship. Access

  to all Search Warrant Records—which currently appear to be under seal—would facilitate its

  efforts to inform the public of these highly newsworthy events in a timely and comprehensive

  manner.

  II.    The Times Has Standing to Intervene.

         The Eleventh Circuit has recognized the news media’s right to intervene in matters to

  challenge the denial of access to court records. See, e.g., United States v. Ellis, 90 F.3d 447, 449

  (11th Cir. 1996), cert. denied, 519 U.S. 1118 (1997); Newman v. Graddick, 696 F.2d 796, 800

  (11th Cir. 1983). Only through intervention can the public’s right to open courts and records be

  vindicated. See Newman, 696 F.2d at 800.

         There is no question that The Times has standing to intervene for access as a news

  organization.   It publishes The New York Times, a daily newspaper of general circulation

  throughout the United States and the world. The Times also maintains a news website at

  www.nytimes.com. Its journalists use public records, including court records, as important

  newsgathering sources. For decades, The Times has reported on Donald J. Trump. Such coverage

  has focused on all aspects of his social, business, and political life—including his term as president

  and various legal controversies. The Times continues to cover and report on President Trump,

  who might be contemplating another run for president.




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  III.    This Court Should Grant The Times Access To The Search Warrant Records.

           A. A Presumptive Right Of Access Attaches To The Search Warrant Records.

          The public and news media enjoy long-established First Amendment and common law

  rights to attend criminal trials. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 575,

  580 (1980). This right has been extended both to criminal trial proceedings and certain court

  records. See, e.g., Press-Enterprise Co. v. Superior Court of California, 478 U.S. 1, 10, 13 (1986)

  (“Press-Enterprise II”) (right of access to preliminary hearings); Press-Enterprise Co. v. Superior

  Court of California, 464 U.S. 501 (1984) (right of access to voir dire); Associated Press v. United

  States District Court, 705 F.2d 1143, 1145 (9th Cir. 1983) (right of access to court records and

  transcripts). The constitutional right attaches to records that have been historically available to the

  public and whose disclosure advances the functioning of the judicial system. Press-Enterprise II,

  487 U.S. at 8-9. Under that analysis, the First Amendment right has been found to attach to search

  warrant materials. See United States v. Shenberg, 791 F. Supp. 292, 293 (S.D. Fla. 1991) (finding

  a First Amendment right of access applies to search warrant records). A common law right to

  access judicial records has also been recognized by the Supreme Court. See Nixon v. Warner

  Commc’ns, 435 U.S. 589, 597-98 (1978). That right has also been recognized as applying to search

  warrant materials. See In re Search of Office Suites for World and Islam Studies Enter., 925 F.

  Supp. 738, 742 (M.D. Fla. 1996) (finding common law right of access applies to search warrant

  records). The presumptive right can be overcome only if the government demonstrates an

  overriding interest to justify sealing and such sealing is no more restrictive than required to protect

  that interest. See id.

          Both rights of access are grounded in the value afforded to public monitoring of judicial

  proceedings. “[The] right to inspect and copy judicial records…like the right to attend judicial



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  proceedings, is important if the public is to appreciate fully the often significant events at issue in

  public litigation and the workings of the legal system.” Newman 696 F.2d at 803. Just as with

  open court proceedings, broad public access to filed court records helps ensure “that the

  proceedings [are being] conducted fairly,” while discouraging “perjury, the misconduct of

  participants, and decisions based on secret bias or partiality.” Richmond Newspapers, 448 U.S. at

  569; see also Associated Press, 705 F.2d at 1145 (“there is no reason to distinguish between pretrial

  proceedings and the documents filed in regard to them”). Public access further promotes the

  “public acceptance of both the [judicial] process and its results,” an “awareness that society’s

  responses to criminal conduct are underway,” and the “prophylactic aspects of . . . community

  catharsis.” Id. at 571; Press-Enterprise, 478 U.S. at 9. For these reasons, “[a] presumption of

  access must be indulged to the fullest extent not incompatible with the reasons for closure.”

  Newman, 696 F.2d at 802. See also United States v. Rosenthal, 763 F.2d 1291, 1293 (11th Cir.

  2007) (recognizing “presumptive common law right to inspect and copy judicial records.”)

         Those policy considerations are certainly present when considering whether the Search

  Warrant Records should remain sealed. Indeed, “public access to documents filed in support of

  search warrants is important to the public’s understanding of the function and operation of the

  judicial process and the criminal justice system and may operate as a curb on prosecutorial and

  judicial misconduct.” In re Search Warrant for Secretarial Area Outside Office of Gunn, 855 F.2d

  569, 573 (8th Cir. 1988).

         Moreover, even though a search warrant is not part of the criminal trial itself, like
         voir dire, a search warrant is certainly an integral part of a criminal prosecution.
         Search warrants are at the center of pre-trial suppression hearings, and suppression
         issues often determine the outcome of criminal prosecutions.

  Id.




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           B. The Government Bears The Burden Of Overcoming Public Access Rights.

         It is the government’s burden to overcome this presumption of access. For warrant records

  to remain under seal a court must determine, in clearly articulated findings, that the government

  established a specific, compelling interest justifying an ongoing seal that is no broader than

  necessary to serve that interest. See In re Search of Office Suites, 925 F. Supp. at 742; Brown v.

  Advantage Eng’g, Inc., 960 F.2d 1013, 1015-16 (11th Cir. 1992); Wilson v. Am. Motors Corp.,

  759 F.2d 1568, 1570-71 (11th Cir. 1985). Naked assertions of some interest justifying secrecy,

  devoid of particulars, will not justify closure. Rather, for each record the government claims

  sealing remains necessary, it must “describe in considerable detail the nature, scope and direction

  of the government’s investigation and the individuals and specific projects involved.” In re Search

  Warrant for Secretarial Area, 855 F.2d at 574; United States v. Peterson, 627 F. Supp. 2d 1359,

  1373-74 (M.D. Ga. 2008) (applying common law access right to find that government failed to

  meet its burden to show disclosure of search warrant records would cause harm and recognizing

  value of news media interest in informing public of “historically significant” events). Likewise,

  to the extent any claim is made that disclosure will compromise the identities of cooperating

  persons, a compelling justification for continued secrecy must also be established. See In re

  Searches of Semtex Indus. Corp., 876 F. Supp. 426, 429 (E.D.N.Y. 1995). At bottom, “conclusory

  assertions are insufficient to allow review; specificity is required.” In re The Baltimore Sun Co.,

  886 F.2d 60, 66 (4th Cir. 1989).

         The analysis must be conducted on a record-by-record basis, so the Court must consider

  whether the disclosure of each individual record comprising the Search Warrant Records would

  compromise the government’s asserted interest. See, e.g., Wellcare Health Plans, Inc., No. 8:07-

  MJ-1466-TGW, 2007 WL 4240740, at *1 (M.D. Fla. Nov. 28, 2007) (assessing each warrant-



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  related document individually and finding warrant, exhibits, return, motion to seal and sealing

  order all public). Just like the Wellcare court determined, the presumption of access is particularly

  difficult to overcome for records like the warrant itself, any motion to seal, and any resulting

  sealing order. Additionally, records whose contents have already been acknowledged—such as in

  this case the particulars of the actual search warrant which was disclosed by President Trump’s

  legal counsel—can no longer present a disclosure risk. See U.S. v. Peterson, 627 F.2d 1359, 1373

  (M.D. Ga. 2008) (recognizing that “whether the press has already been permitted substantial access

  to the contents of the records” must be considered in determining whether to allow access to

  judicial records).

         Even if the government were to establish a compelling reason to justify a continued seal,

  this Court must consider the proper scope of that seal and whether alternatives to total closure

  exist. See In re Search of Office Suites, 925 F. Supp. at 429. For example, this Court should

  consider whether the redaction of limited information would serve to protect any established

  compelling interest. See, e.g., Shenberg, 791 F. Supp. at 294 (requiring redaction of certain

  sensitive information contained within search warrant affidavit before making it public).

         Access to search warrant materials has typically occurred at the conclusion of an

  investigation or proceeding. See, e.g., In re Four Search Warrants, 945 F. Supp. 1563, 1568 (N.D.

  Ga. 1996) (recognizing that investigation into Olympic bombing suspect had concluded as

  significant factor in common law access balance regarding access to search warrant records). But

  this is far from the typical case. The investigation has been made public by the target of the warrant

  himself, details of the investigation have appeared in publications throughout the world, members

  of Congress have demanded that the Justice Department provide an explanation, and political

  commentary on the search continues unabated. In short, with so much publicity surrounding the



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  search, the Court should be skeptical about government claims that disclosure of this true

  information will invade privacy, disturb the confidentiality of an investigation, tip off potential

  witnesses, or lead to the destruction of evidence.

        C. The Public Interest In Current And Former Government Officials’ Actions Is
           Particularly High And Favors Access.

           Investigations regarding the conduct of public officials are of the utmost public interest.

  Naturally, courts have recognized that interest while assessing public access rights, and that

  consideration weighs heavily in any balance between competing access rights and secrecy

  concerns. See, e.g., Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007) (“[i]n

  balancing the public interest in accessing court documents against a party's interest in keeping the

  information confidential, courts consider…whether the information concerns public officials or

  public concerns….”); United States v. Beckham, 789 F.2d 401, 413 (6th Cir. 1986) (“[W]hen the

  conduct of public officials is at issue, the public's interest in the operation of government adds

  weight in the balance toward allowing permission to copy judicial records.”) United States v.

  Edwards, 672 F.2d 1289, 1294 n.11 (7th Cir. 1982) (“there is a strong presumption in support of

  the common law right to inspect and copy judicial records,” particularly where “the trial bore upon

  the conduct of a public official”). There can be no doubt that President Trump’s actions,

  particularly as to his potential mishandling of sensitive government records, along with the U.S.

  Department of Justice officials’ decision to pursue and conduct a search of a former President’s

  residence, is of core public concern. So too is this Court’s decision to authorize that search.

  IV.      Conclusion.

           For the foregoing reasons, The Times respectfully requests this Court enter an Order

  granting it leave to intervene in this matter and providing it immediate access to the Search Warrant

  Records.

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                                    REQUEST FOR HEARING

         Pursuant to Local Rule 7.1(b)(2), The Times requests a hearing be set for this motion. Oral

  argument will aid this Court in assessing any further basis to continue to keep these extremely

  newsworthy records secret and allow this Court to directly inquire into any government

  justification for doing so. The Times estimates the time required for argument to be sixty (60)

  minutes.

         LOCAL RULE 7.1(a)(3) CERTIFICATE OF GOOD-FAITH CONFERENCE

         Undersigned counsel for The New York Times Company hereby certifies that on the

  afternoon of August 10, 2022, she made reasonable efforts to confer with the Assistant United

  States Attorney for the Southern District of Florida handling the matter, leaving a message with

  their office. Given the exigency of this filing, undersigned counsel was not, however, able to

  confer before filing this motion as she has yet to receive a return telephone call.

  Dated: August 10, 2022                        Respectfully submitted,

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                                              Attorneys for The New York Times Company

                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 10, 2022, a true and correct copy of the foregoing document
  is being electronically filed and will be furnished via CM/ECF. A copy of the foregoing is also
  being served by email and first-class mail, postage paid, to:

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                                                       /s/ Carol Jean LoCicero
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